Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 1 of 10 PagelD #: 962

New York State Department of Taxation and Finance
Naw York City Department of Finance

Power of Attorney

Finance

Read Form POA-1-I, instructions for Form POA-1, before completing. These instructions explain how the information entered on this power
of attorney (POA) will be intarpreted and the extent of the powers granted.

1. Taxpayer information (Taxpayer(s) must sign and date this form - please print or type.)

Taxpayer's name Taxpayer's identification number (see instructions)
STAR AUTO SALES OF QUEENS VILLAGE LLC GR 552 |
Spouse's name fil joint tax return) Spouse's SSN ff applicable)
'
Malling address City State ZIP code *
21010 JAMAICA AVE
QUEENS VLG NY 11428-1550 j
Spouse's mailing address (if different (rom above} City State ZIP code :

The taxpayer(s) named above appoints the individual(s) named below as the taxpayer's or taxpayers’ attorney(s)-in-fact:
2. Representative information (Representative(s) must complete section 8 on page 4 of this form.)

Representative’s name Telephone number Fax number

RANDALL FRANZEN, CPA ( 215 ) 355-8000 ( 215 ) 396-2000

Mailing address finckde firm name, any) Rapresentative's NYTPRIN ( appiicabta)

1210 NORTHBROOK DRIVE SUITE 146

Clty State ZIP code &-mail address

TREVOSE PA 19053 RF RANZEN@VOYNOWBAYARD.COM

Representative’s name Telephone number Fax number
HUGH WHYTE, CPA { 215 ) 355-8000 ( 215 ) 396-2000
Mailing address (inchuie firm nama, If any) Representative's NYTPRIN (i/ applicable)

1210 NORTHBROOK DRIVE SUITE 140

City State ZIP code E-mail address

TREVOSE PA 19053 HWHYTE@VOYNOWBAYARD.COM |
Representaive's name Telephone number Fax number

ROBERT SEIBEL, CPA ( 215 ) 355-8000 ( 215 ) 396-2000 |
Malling address finctude firm name, i ery) Representative’s NYTPRIN (if applicable) |
1210 NORTHBROOK DRIVE SUITE 140 |
City State ZIP code E-mail address ~
TREVOSE PA 19053 RSEIBEL@VOYNOWBAYARD.COM

to represent the taxpayer(s} in connection with the following tax matter(s):

3. Tax matter(s) — For estate tax matters, use Form ET-14, Estate Tax Power of Attorney, instead of this form.

Type(s) of tax(es) Tax year(s), period(s), or transaction(s} Notice/assessment/Audit ID number(s) !
(may enter more than one) |
SALES AND USE TAX 03/01/2010 ~ 11/30/2012

526

with full power to receive confidential information and to perform any and all acts that the taxpayer(s) can perform with respect to the above specified
tax matter(s), except for signing tax returns or delegating his/her/their authority (unless specifically authorized; see page 2). If you do not want any
of the above representative(s} to have full power as described above, attach a signed and dated explanation and mark an X in this DOX ......cescees > Ci

POA-1 (9/10) Page 1 of 4

0291100094

VOYNOW 035578
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 2 of 10 PagelD #: 963

Page 2o0f4 POA-1 (9/10) Taxpayer's identification number
. 52

{/We authorize the above representative(s) to sign tax returns for the tax matter(s) indicated above. fff joint retum, both taxpayers must sign.)
Your signature Date Spouse's signature Date

-_—

1/We authorize the above representativa(s) to delegate his/her/their authority to another. (if joint retum, both taxpayers must sign.)
Your signature Date Spouse's signature Date

4. Retention/revocation of prior power(s) of attorney

This power of attorney (POA) only applies to tax matters administered by the New York State Tax Department, the New York City

Department of Finance, or both, Executing and filing this POA revokes all powers of attorney previously executed and filed with an

agency for the same tax matter(s) and year(s), period(s) or transaction(s) covered by this document. If there is an existing POA that

you do not want revoked, attach a signed and dated copy of each POA you want to remain in effect and mark an X in this box... De {J

5. Notices and certain other communications

In those instances where statutory notices and certain other communications involving the tax matter(s) listed on page 1 are sent toa
representative, these documents will be sent to the first representative named in section 2. If you do not want notices and certain other
communications sent to the first representative, enter the name of the representative designated on page 1 (or on the attached power of
attorney previously filed and remaining in effect} that you want to receive notices, etc.

Representative's name:

if you do not want notices and certain other communications to go to any representative, enter None on the line above.
6. Taxpayer signature

If a joint tax return was filed for New York State, New York City, or both, and both spouses request the sare representative(s), both spouses
must sign below.

If the taxpayer named in section 1 is other than an individual: | certify that | am acting in the capacity of a corporate officer, partner
(except a limited partner), member or manager of a limited liability company, or fiduciary on behalf of the taxpayer, and that | have
the authority to execute this power of attorney on behalf of the taxpayer.

>» IF NOT SIGNED AND DATED, THIS POWER OF ATTORNEY WILL BE RETURNED.

Signature 3 4 Taxpayer's talephone number Taxpayer's fax number Date j
== (10% )423-Nee (18 )Yax- dW ile |
Name of person signing this fOrm (typa or print) Title, If applicable
even Koultale’s he
Spouse's signature c telaphone number Spouse's fax number Date
) ()

Affix corporate seal here, if applicable
7. Acknowledgment or witnessing the power of attorney

This power of attorney must be acknowledged by the taxpayer(s) before a notary public (see next page for acknowledgment formats)

or witnessed by two disinterested individuals, unless the appointed representative(s) is licensed to practice in New York State as an
attorney-at4aw, certified public accountant, public accountant, or is a New York State resident enrolled as an agent to practice before the
internal Revenue Service.

The persan(s) signing as the above taxpayer(s) appeared before us and executed this power of attorney.

Signature of witness Signature of witness

Name of witness (type or print) Dale Name of witness (type or print) Date

Malling address of witness (typa or prin Malling address of witnass (type or pring

City Stale ZIP code City State ZP code |

VOYNOW _035579
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 3 of 10 PagelD #: 964

Taxpayer's ideniification number POA-1 (9/10) Page 3 of 4
552

Acknowledgment — individual

State of ss:
County of

On this day of , : before me personally
came, to me known to be the person(s) described in the foregoing power of attorney;

and he/she/they acknowledged that he/she/they executed the same.

Signature of notary public Date

Notary public: affix stamp (or other indication of your notary authority)

Acknowledgment — corporate

State of Ss:

County of

On this day of ' : before me personally
came, to me known, who, being by me duly sworn, did say that he/she is

the of , the corporation described

in the foregoing power of attorney; and that he/she signed his/her name thereto by authority of the board of directors of said corporation.

Signature of notary public Date

Notary public: affix stamp (or other indication of your notary authority)

Acknowledgment — limited liability company (LLC)

Stateof Nevo Yor ss:

Gounty of Gueems

Onthis %MmMy day of eanuan 2013 . before me personally
came, to me known, who, being by mle duly sworn, did say that he/she is

a member or manager of the limited liability company described in the foregoing power of attorney; and that he/she is empowered to and
did execute the same.

f.

Signatur of notary public 7 + Dato |
Notaryngrely: i PIRAQP 45; on of your notary authority)

No. XX-XXXXXXX

Qualified in Queens Cgun ith
ee — — partnership/limited liability partnership (LLP)

State of ' SS;

County of

On this day of : , before me personally
came, to me known, who, being by me duly sworn, did say that he/she is

a partner of the partnership described in the foregoing power of attorney; and that he/she is empowered to and did execute the same.

Signature of notary public Date

Notary public: affix stamp (or other indication of your notary authority)

VOYNOW 035580
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 4 of 10 PagelD #: 965

Page 40f4 POA-1 (9/10)

Taxpayer's ideniification number

562

8. Declaration of representative(s) (to be completed by each representative)

| agree to represent the above named taxpayer(s) in accordance with this power of attorney, | affirm that my representation will not violate
the provisions of the Ethics in Government Act or section 2604(d) of Chapter 68 of the New York City Charter restricting appearances bya
former government employee before his or her former agency. | have read a summary of these restrictions reproduced in the instructions to

this form.

| am (indicate ail that apply):

1 an attorney-at-law licensed to practice in New York State 4
2 acertified public accountant duly qualified to practice in

a New York State resident enrolled as an agent to practice
before the Internal Revenue Service

New York State 5 an employee not & corporate officer (if the taxpayer is a
3 apublic accountant enrolled with the New York State corporation)
Education Department 6 other:
Designation(s) Representative's Signature Date
{use number(s) PTIN, SSN, or EIN 1
ab Hi '
from above list) Lf) —-
2 Bks's bell Z- 01-04-2013
< ‘
= Ah bib aZ L_|ew's
2 [ssc KO Sc 01-04-2013

> IF THIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED IN ITS ENTIRETY, THE POWER OF ATTORNEY WILL BE

RETURNED.

0294100094

UNE IA
i

VOYNOW _035581
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 5 of 10 PagelD #: 966

L 1; covr
ed tN MV
yal 2c

VOYNOW_035582
T VOYNOW BAYARD WHYTE :

AND GOMPANY, LLP PARTNERS:
QOERTIFIED PUBLIC AGOOCUNTANTS HUGH WHYTE, CPA
RENNETH MANN, CPA
RANDALL E, FRANZEN, CPA

DAVID &. KAPLAN, CPA
RORERT KIRKHOPE, Ch&
SHAWN BP. MER ORMACK
ROBERT Be. SEFBEL, CPA
STEVEN W. WHITE, OPA

January 9, 2013

RAUL VOYNO®, CPA®
ROBERT H. BAYARD, CHA
New York State MACTIVE
Department of Taxation and Finance
Transaction Field Audit Bureau
Queens District Office
80-02 Kew Gardens Road

Kew Gardens, NY 11415
Attn: Ms. Pansy Worthy

Re: Star Auto Sales of Queens Village, LLC
Dear Ms. Worthy:

Star Auto Sales of Queens Village, LLC closed its vehicle sales
operations in December 2011. The company’s service and parts operations
were also closed as of early January 2013. The company is currently

completely closed and transacts no business.

For this reason, and based on the information requested in your IDR
#1, we will require additional time to gather the necessary information for
you to conduct your audit.

We request that you please reschedule the audit to a date in May 2013.

We appreciate your understanding in this matter and look forward to a
quick resolution to this matter once we have had a change to gather the

necessary information.

IT£ you have any questions or require additional information, please
contact us.

Very truly yours,

VOYNOW,..BAYARD, WHYTE AND COMPANY, LLP

Robert Seibel, CPA

RS/db/bn

NORTHBROOK CORPORATE CENTER + 1210 NORTHBROOK DRIVE « SUITE 140 * TREVOSE, PA 19053 + 215.355.8000 + 215.396.2000 F

MEMBER + AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
MEMBER « PENNSYLVANIA INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS

VOYNOW _035583
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 7 of 10 PagelD #: 968

New York State Dapartment of Taxation and Finance .
New York Clty Dapartment of Finance

Power of Attorney Finance

Read Form POA-1-I, instructions for Form POA-1, before completing. These Instructions explain how the Information entered on this power
of attorney (POA) will be interpreted and the extent of the powers granted.

1. Taxpayer information (Taxpayer(s) must sign and date this form - please print or type.)

Taxpayer's name Taxpayer's ktentification number fase instructions)
STAR AUTO SALES OF QUEENS VILLAGE LLC 652
Spouse's name (i joint tax return) Spouse's SSN {7 eppticable)
Malling address City Stats ZIP code
21010 JAMAICA AVE

QUEENS VLG NY 11428-1550 \
Spouse's malling address @f chfernt fram above} City State  2iP code |

'

The taxpayer(s) named above appoints the individual(s) named below as the taxpayer's or taxpayers' attorney(s)-in-fact:
2. Representative information (Reprasentative(s) must complete section 8 on page 4 of this form.)

Representaiive’s name Telaphone number Fax number |
RANDALL FRANZEN, CPA ( 215 ) 355-8000 { 215. ) 396-2000

I Malling address fnckoe frm name, 1 ey) Ropresontative’s NYTPRIN (f apptcabre)

1210 NORTHBROOK DRIVE SUITE 140 |
Clty State ZIP code E-mail address 1
TREVOSE PA 19053 RFRANZEN@VOYNOWBAYA RD.COM

Repmsentative’s name Totaphone number Fax number

HUGH WHYTE, CPA ( 215 ) 355-8000 ( 215 ) 396-2000
Malling address (inchs fim name. i any) Renresentetive's NYTPRIN (¥ appicabre) .
1210 NORTHBROOK DRIVE SUITE 140

City State ZIP cocte E-mail address

TREVOSE PA 19053 HWHYTE@VOY NOWBAYARD.COM |
Reprasantative’s name Telephone number Fax number

ROBERT SEIBEL. CPA ( 215 ) 355-8000 ( 215 ) 396-2000 |
Malirig addiess (inchae frm nar, fem) . Repraseniatwe's NYTPRIN [7 appwcabye) t
1210 NORTHBROOK DRIVE SUITE 140 |
City State ZIP code E-mail address -
TREVOSE PA 19053 RSEIBEL@VOYNOWBAYARD.COM

to represent the taxpayers) in connection with the following tax matter(s):
3. Tax matter(s) - For estate tax matters, use Form ET-14, Estate Tax Power of Attorney, instead of this form.

Type(s) of taxes) Tax year(s), period(s), or transaction(s) Notice/assessment/Audit ID number(s) '
(may enter more than one)

SALES AND USE TAX 03/01/2010 - 11/30/2012 §26 |
{

with full power to receive confidential information and to perform any and all acts that the taxpayer(s) can perform with respect to the above specified
tax matters), except for signing tax retums or delegating his/ner/their authority (unless specifically authorized; see page 2). If you do not want any
of the above representative(s) 10 have full power as described above, attach a signed and dated explanation and mark and in this DOK... BP [.'

POA-1(9/10) Page 1 of 4

VOYNOW 035584
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 8 of 10 PagelD #: 969

Page 20f4 POA-1(9/10) Taxpayer's identification number

552

I/We authorize the above representative(s) to sign tax returns for the tax matter(s) indicated above. (if joint retum, both taxpayers must sign.)
Your signature Date Spouse's signature Dato |

1/We authorize the above representatlve(s) to delegate his/her/their authority to another. (if joint retum, both taxpayers must sign.)
Your signature Date Spouse's signature Date |

4. Retention/revocation of prior power({s) of attorney

This power of attomey (POA) only applies to tax matters administered by the New York State Tax Department, the New York City

Department of Finance, or both. Executing and filing this POA revokes all powers of attomey previously executed and filed with an

agency for the same tax matter(s) and year(s), period(s) or transactlon(s) covered by this document. If there is an existing POA that

you do not want revoked, attach a signed and dated copy of each POA you want to remain in effect and mark an X In this box......... Be C

5. Notices and certain other communications

In those instances where statutory notices and certain other communications involving the tax matter(s) listed on page 1 are sent to a
representative, these documents will be sent to the first representative named In section 2. If you do not want notices and certain other
communications sent to the first representative, enter the name of the representative designated on page 1 (or on the attached power of
attorney previously filed and remaining In effect) that you want to receive notices, etc.

Representative's name:

If you do not want notices and certain other communications to go to any representative, enter None on the line above.
6. Taxpayer signature

Ifa joint tax return was filed for New York State, New York City, or both, and both spouses request the same representative(s), both spouses
must sign below,

If the taxpayer named in section 1 Is other than an individual: | certify that | am acting in the capacity of a corporate officer, partner
(except a limited partner), member or manager of a limited liability company, or fiduciary on behalf of the taxpayer, and that | have
the authority to execute this power of attorney on behalf of the taxpayer.

> IF NOT SIGNED AND DATED, THIS POWER OF ATTORNEY WILL BE RETURNED.

Sf on

Signature >? Taxpayer's telephone number Taxpayer's fax number Date \ }
: =i (11% )423-Mee (We Yay - 84 lal
Name of person signing this {type or pring Titha, if apptcable
euen vutakes hé
Spouse's signature . “ c telephone number Spouse's fax number Date

Altix corporate seal here, if applicabie
7. Acknowledgment or witnessing the power of attorney

This power of attomey must be acknowledged by the taxpayer(s) before a notary pubilc (see next page for acknowledgment formats)
or witnessed by two disinterested individuals, unless the appointed representative(s) Is licensed to practice In New York State as an

attorney-at-aw, certified public accountant, public accountant, or is a New York State resident enrolled as an agent to practice before the
Internal Revenue Service.

The person(s) signing as the above taxpayer(s) appeared before us and executed this power of attorney.

[Signature of witnass Signature of witness

Name of witness (type or prin Tale Name of wiiness (type or print) Date
Malling address of wilness (type or print) Falling address of witness (typa or pring

City State ZIP cade City Stato ZiP code

VOYNOW_035585
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 9 of 10 PagelD #: 970

Taxpayer's identification number POA-4 (9/10) Page 3 of 4

552
Acknowledgment — individual
State of ss:
County of
On this day of , before me personally
came, to me known to be the person(s) described In the foregoing power of attorney;
and he/she/they acknowledged that he/she/they executed the same.

Signature of notary public Dato |
Notary public; affix stamp (or other indication of your notary authority) .
Acknowledgment — corporate

State of S85:

County of

On this . day of . before me personally
came, to me known, who, being by me duly sworn, did say that he/she is

the of . the corporation described

in the foregoing power of attorney; and that he/she signed his/her name thereto by authority of the board of directors of said corporation.

Signature of notary public Date

Notary public: affix stamp (or other indication of your notary authority)

Acknowledgment — limited liability company (LLC)
stateot News Yor

s3:

County of Queems

Onthis %hM day of anuan4 -20|3 . before me personally
came, to me known, who, being by ma duly sworn, did say that he/she is

a member or manager of the limited liability company described in the foregoing power of attorney; and that he/she Is empowered to and
did execute the same.

fed

Ocean boomy Le “aoe|oqe |

Notaragutayy: any Wsigeyon of your notary authority)
No. XX-XXXXXXX

Qualified in oes iy vie
no igment — partnership/iimited liability partnership (LLP)

State of . SS:

County of

On this day of . before me personally
came, to me known, who, baing by me duly sworn, did say that he/she Is

a partner of the partnership described in the foregoing power of attorney; and that he/she is empowered to and did execute the same.

Signature of notary public Date

Notary public: affix stamp (or other indication of your notary authority)

0293100084

VOYNOW 035586
Case 1:18-cv-05775-ERK-TAM Document 108-2 Filed 08/21/23 Page 10 of 10 PagelD #: 971

Pagedof4 POA-1 (9/10)

8. Declaration of representative(s) (to be completed by each representative)

| agree to represent the above named taxpayer(s) in accordance with this power of attomey. | affirm that my representation will not violate
the provisions of the Ethics in Government Act or section 2604(d) of Chapter 68 of the New York City Charter restricting appearances by a
former government employee before his or her former agency. | have read a summary of these restrictions reproduced in the instructions to

this form.
| am @ndicate all that apply.

1 an attorney-at-law licensed to practice in New York State
2 acertified public accountant duly qualified to practice in

New York State

Taxpayer's ide Der
ee.

4 a New York State resident enrolled as an agent to practice

before the Internal Revenue Service
5 an-employee not a corporate officer (if the taxpayer isa

3 apublic accountant enrolled with the New York State corporation)
Education Department 6 other:
Designation(s) Reprasentative's Signature Date “|
(use number(s) PTIN, SSN, or EIN |

from above fist)

01-04-2013

fo SO

01-04-2013

> IF THIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED IN ITS ENTIRETY, THE POWER OF ATTORNEY WILL BE

RETURNED.

VOYNOW 035587
